Case: 1:19-cr-00858 Document #: 7 Filed: 11/14/19 Page 1 of 1 PagelD #:36 sib

IN THE
UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
Plaintiff,

Case Number [7 CAL 65 6 -

 

Vv.
Defendant.

Jasow B how judge HAR SAW |

ORDER APPOINTING COUNSEL UNDER CJA

Name of Appointed Attorney: Yi Oc AY G. GRA PSAS
Person Represented: JA ron Bao! Defendant number: __—sUnderr SEAL: (es br Bex)

Payment Category: FELON MISDEMEANOR _ Type of Person Represented:/ ADULT ) JUVENILE OTHER
OTHER PETTY OFFENSE

Representation Type: BP Ec) CF CH DRI EW EX HC JU MA  JRV_ JHB

MC ML NT OT PA PR PT SR WI WW
Court Order:
APPOINTING COUNSEL CO-COUNSEL STANBY COUNSEL
SUBS FOR FEDERAL DEFENDER SUBS FOR PANEL ATTORNEY SUBS FOR RETAINED ATTORNEY

Prior Attorney’s name:

 

If associate(s) will be used, list name(s) below. If the associate rate differs from CJA hourly rate, list the rate next to
the associate’s name:
[fy

Signature of Presiding Judge:

if L
Date of Order: ] \ | iH | “ZO/7 Nunc Pro Tunc Date: orione >

ORDER APPOINTING INTERPRETER UNDER CJA

Prior authorization shall be obtained for services in excess of $900.
Expected to exceed: YES NO

 

 

Prior Authorization Approved: YES NO

Signature of Presiding Judge:

 

Date of Order: Nunc Pro Tunc Date: or NONE
